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IN THE UNITED sTATEs DISTRICT COURT z '3"'“"
FoR THE WESTERN DISTRICT oF TENNESSEE 95 JU;‘~.¢ 15 PH ?_

WESTERN I)IVISION " 5 7

??F:l;lg 51 511 'F`»*?Oue

GLORLA HARRELL ‘-'»'o ctr `j`»;;§' ,;;E!_§F&§

PLAINTIFF
v_ No.; 05-2204 MlD

JURY DEMANDED

NO. l USED CARS

DEFENDANT

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference Was held June ]6, 2005 . Present were
J ames E. King, counsel for plaintiff, and Mark L. Hayes, counsel for defendant At the conference,
the following dates Were established as the final dates for:
INITIAL DISCLOSURE PURSUANT TO FED. R. Cl`V. P. 26 (a) (l): June 30, 2005.
JOINING PARTIES: August 16, 2005.
AMENDLNG PLEADINGS: August 16, 2005.
lNITlAL MOTIONS TO DISMISS: September 16, 2005.
COMPLETING ALL DISCOVERY: February 16, 2006.
(a) DOCUMENT PRODUCTION: February 16, 2006.
(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR ADMISSIONS:
February 16, 2006.
(c) EXPERT WITNESS DISCLOSURE (Ru]e 26):

(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT INFORMATION:

This document entered on the docket heet ln compliance .,
with Ru|e 58 end/cr 79(a) FRCP on é"l ge "OS @

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December 16, 2005.
(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT INFORMATION:
January 16, 2006.
(3) EXPERT WITNESS DEPOSITIONS: February 16, 2006.
FILING DISPOSITIVE MOTIONS: March 16, 2006.
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in advance
of the discovery cutoff date to enable opposing counsel to respond by the time permitted by the Rules
prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or the service of the response, answer, or obj ection, which is the subject of the
motion, if the default occurs within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or the objection to the default, response, answer, or
objection shall be waived.

This case is set for jury trial, and the trial is expected to last two to three day(s). The pretrial
order date, pretrial conference date, and trial date Will be set by the presiding judge

This case is appropriate for ADR. The parties are directed to engage in court~annexed
attorney mediation or private mediation after the close of discovery

The parties are reminded that pursuant to Local Rule ll(a) (l) A), all motions, except
motions pursuant to Fed.R.Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party may
file an additional reply, however, without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for which a reply is required.

The parties have/have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this order will not be modified or extended

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TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

 

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UNITED`TATES ISTCRIT COURT- WESTERNDISTRCT oFTNNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02204 Was distributed by faX, mail, or direct printing on
.1 une 16, 2005 to the parties listed.

 

 

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Honorable .l on McCalla
US DISTRICT COURT

